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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



  MACEO MOORE,                               )       CASE NO.1:13CR0345
                                             )               1:16CV1582
                                             )
                       Petitioner,           )       JUDGE CHRISTOPHER A. BOYKO
                                             )
                Vs.                          )
                                             )
  UNITED STATES OF AMERICA,                  )       OPINION AND ORDER
                                             )
                       Respondent.           )

  CHRISTOPHER A. BOYKO, J:

         This matter is before the Court on Petitioner’s Motion for Relief Under 28 U.S.C.

  §2255 (ECF #1686). Respondent filed a Response in Opposition to Motion for Relief

  and Request for Stay Pending Supreme Court Determination. (ECF #1703). Petitioner

  filed a Motion to Supplement Petition. (ECF# 1770). Respondent filed a Response in

  Opposition to Defendant’s Motion for Relief. (ECF#1779). For the following reasons,

  the Court denies Petitioner’s Petition.

                                            FACTS

         On July 16, 2013, an Indictment was returned charging Petitioner with


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  Conspiracy to Distribute Heroin. A Superseding Indictment was returned on September

  11, 2013, charging Petitioner with Conspiracy to Distribute Heroin, Distribution of

  Heroin, Possession with the Intent to Distribute Heroin and Use of a Telephone to

  Facilitate Drug Trafficking. On December 16, 2013, Petitioner requested a Pre-Plea

  Presentence Report to determine whether he was a Career Offender. A Report was

  prepared and showed that Petitioner’s past criminal history qualified him as a Career

  Offender.

         Petitioner pled guilty on February 19, 2014, pursuant to a written Plea

  Agreement. In the Plea Agreement, Petitioner acknowledged that the maximum

  sentence he could receive was 20 years. Petitioner and the Government agreed to a

  stipulated Sentencing Guidelines computation that resulted in an offense level 34, prior

  to acceptance of responsibility if Petitioner were found to be a Career Offender. The

  parties agreed to recommend that the Court impose a sentence of 210 months in

  prison if Petitioner were found to be a Career Offender. In the Plea Agreement,

  Petitioner agreed to waive the right to file a direct Appeal except in limited

  circumstances and he agreed to waive his right to file any post-conviction attack

  under 28 U.S.C. § 2255, except for allegations of prosecutorial misconduct or ineffective

  assistance of counsel. During the plea colloquy, Petitioner stated that he understood

  his rights, that he was aware of the sentencing range and agreed that he could not

  withdraw his plea.

         Petitioner filed a Motion to Withdraw Guilty Plea and on August 5, 2014, the

  Court denied the Motion. On August 27, 2014, Petitioner was sentenced to 210 months

  of imprisonment, six years of Supervised Release and ordered to forfeit property as

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  agreed in the Plea Agreement. Petitioner filed a timely Notice of Appeal to the Sixth

  Circuit Court of Appeals. The Government filed a Motion to Dismiss the Appeal on the

  basis of the appellate waiver in the Plea Agreement. On March 31, 2015, the Court of

  Appeals granted the Government’s Motion. Petitioner did not file a Petition for Writ of

  Certiorari but filed a Motion to Reinstate his Appeal in the Sixth Circuit based on

  Johnson v. United States, 135 S. Ct. 2551 (2015). Petitioner’s Motion was denied on

  October 21, 2015, based upon the applicability of the appellate waiver in the Plea

  Agreement. Petitioner also filed a Petition for Panel Rehearing on his Motion to

  Reinstate the Appeal. The Sixth Circuit denied the Motion.

         On June 23, 2016, Petitioner filed the instant Petition for Relief Under 28 U.S.C.

  § 2255, asserting that he no longer qualifies as a Career Offender and his sentence

  should be vacated pursuant to the Supreme Court’s decision in Johnson v. United

  States, 135 S. Ct. 2551 (2015).

                              STANDARD OF REVIEW

         Section 2255 of Title 28, United States Code, provides:

                A prisoner in custody under sentence of a court established by Act
                of Congress claiming the right to be released upon the ground that
                the sentence was imposed in violation of the Constitution or laws
                of the United States, or that the court was without jurisdiction to
                impose such sentence, or that the sentence was in excess of the
                maximum authorized by law, or is otherwise subject to collateral
                attack, may move the court which imposed the sentence to vacate,
                set aside or correct the sentence.

         In order to prevail upon a §2255 motion, the movant must allege as a basis for

  relief: ‘(1) an error of constitutional magnitude; (2) a sentence imposed outside the

  statutory limits; or (3) an error of fact or law that was so fundamental as to render the

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  entire proceeding invalid. ’” Mallett v. United States, 334 F.3d 496-497 (6th Cir. 2003),

  quoting Weinberger v. United States, 268 F.3d 346, 351 (6th Cir.2001).

                                      ANALYSIS

         The Court agrees with Respondent and the Court of Appeals that Petitioner

  waived his right to appeal or collaterally attack his conviction. It is “well settled that a

  defendant in a criminal case may waive any right, even a constitutional right, by means

  of a plea agreement.” United States v. McGilvery, 403 F.3d 361, 362 (6th Cir. 2005)

  (internal punctuation and citation omitted). Plea agreements may also “waive

  constitutional or statutory rights then in existence, as well as those that courts may

  recognize in the future.” United States v. Wilson, 438 F.3d 672, 673 (6th Cir. 2006)

  (citing United States v. Bradley, 400 F.3d 459, 463 (6th Cir. 2005)).

         Petitioner’s Plea Agreement retained his right to file a post-conviction attack on

  two grounds only: claims of ineffective assistance of counsel or prosecutorial

  misconduct. The instant Petition raises no such claims. Thus, except for certain limited

  exceptions that were not raised here the waiver of appeal and post-conviction attack

  was “unlimited in its scope.” United States v. Calderon, 388 F.3d 197, 200 (6th Cir.

  2004). Petitioner’s Petition does not meet any of the exceptions listed in the waiver.

  Therefore, the Court finds that Petitioner’s knowing and voluntary waiver of his right to

  collaterally attack his sentence or conviction fully precludes him from filing this Petition.

         Respondent correctly points out that Petitioner’s Petition would fail on the merits

  regardless of his voluntary waiver of his right to file any appeal. The Supreme Court’s

  decision in Johnson does not entitle Petitioner to post-conviction relief from his career


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  offender Sentencing Guidelines-based sentence under 28 U.S.C. § 2255. Johnson

  does not apply to Guidelines-based sentences in Section 2255 or other collateral attack

  actions.

         The Supreme Court decision in Welch v. United States, 135 S. Ct. 1257 (2016),

  addressed whether Johnson applies retroactively as a substantive rule in Armed Career

  Criminal Act (“ACCA”) cases. The Welch opinion did not consider whether Johnson

  applies to sentences based upon the Sentencing Guidelines. All Guidelines sentences

  must be no more than the statutory maximum. As to Guidelines-based sentences,

  therefore, Johnson does not alter the permissible statutory range of sentencing

  outcomes. In the context of the Sentencing Guidelines, as opposed to the ACCA,

  Johnson does not act substantively.

         On March 6, 2017, the Supreme Court issued its decision in Beckles v. United

  States, 137 S. Ct. 886 (2017), holding that the advisory Guidelines’ residual clause

  remains valid after Johnson v. United States, 135 S. Ct. 2551 (2015), because the

  advisory Guidelines, unlike the Armed Career Criminal Act, “do not fix the permissible

  range of sentences,” and thus “are not subject to a vagueness challenge under the Due

  Process Clause.” Beckles, 137 S. Ct. at 892.

         In Petitioner’s Supplement to his Petition, he now attempts to re-characterize his

  claim as one arising under Mathis v. United States, 136 S. Ct. 2242 (2016). In Mathis,

  the Supreme Court simply clarified how courts can “determine whether a past

  conviction” qualifies as one of the enumerated offenses in the Armed Career Criminal

  Act. Mathis, 136 S. Ct. at 2247. The Court agrees that Mathis provides no basis for

  relief for Petitioner.

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         To make a determination about past convictions, courts apply what is known

  as the categorical approach—they “compare the elements of the crime of conviction

  with the elements of the ‘generic’ version of the listed offense—i.e., the offense as

  commonly understood.” Id. In Mathis, the Supreme Court considered whether the

  modified categorical approach could also be employed in situations with “a different kind

  of alternatively phrased law: not one that lists multiple elements disjunctively, but

  instead one that enumerates various factual means of committing a single element.” Id.

  The Supreme Court “decline[d] to find such an exception.” Id. at 2248. Therefore,

  sentencing courts cannot impose a sentence enhancement for the violation of a law if

  “one of the statute’s specified means creates a match with the generic offense, even

  though the broader element would not.” Id. at 2250. In that situation, the prior crime

  does not qualify as an ACCA predicate because its elements are broader than those of

  the generic offense.

         Mathis did not announce any new rule of constitutional law. The Mathis opinion

  is clear that the Court believed its conclusion was compelled by its precedents. See

  Mathis, 136 S. Ct. at 2247 (“For more than 25 years, our decisions have held that the

  prior crime qualifies as an ACCA predicate if, but only if, its elements are the same as,

  or narrower than, those of the generic offense.”); Id. at 2251.

         The Court agrees with Respondent that any claim under Mathis must have been

  preserved in order to raise it in this § 2255 motion. A one-year statute of limitations

  applies to Section 2255 motions. Title 28 U.S.C. Section 2255(f). The limitations period

  runs from the latest of:

         (1) the date on which the judgment of conviction becomes final;

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          (2) the date on which the impediment to making a motion created by
          governmental action in violation of the Constitution or laws of the United States
          is removed, if the movant was prevented from making a motion by such
          governmental action;

          (3) the date on which the right asserted was initially recognized by the Supreme
          Court, if that right has been newly recognized by the Supreme Court and made
          retroactively applicable to cases on collateral review; or

          (4) the date on which the facts supporting the claim or claims presented could
          have been discovered through the exercise of due diligence.

  (Id.)

          As Petitioner did not preserve this claim, it has been procedurally defaulted.

  See, e.g., United States v. Frady, 456 U.S. 152, 166-168 (1982). Moreover, because

  the Mathis rule is not “new,” defendants who want to raise Mathis claims cannot rely on

  the one-year statute-of-limitations trigger in 28 U.S.C. § 2255(f)(3) that applies to

  intervening Supreme Court decisions that announce a “new right.”

          Petitioner’s voluntary waiver in his Plea Agreement is valid and Petitioner cannot

  now attack his conviction. The Court finds that even if Petitioner had retained his right

  to file this Petition, he is not entitled to relief under Johnson as the Supreme Court’s

  decision in Beckles bars his claims. Additionally, Mathis provides no basis for relief

  under Section 2255.

          Therefore, for the foregoing reasons Petitioner’s Motion to Vacate is denied.

          Furthermore, the Court declines to issue a certificate of appealability.

          28 U.S.C. §2253(c) states:

        (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
  appeal may not be taken to the court of appeals from--

  (A) the final order in a habeas corpus proceeding in which the detention complained of
  arises out of process issued by a State court; or

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  (B) the final order in a proceeding under section 2255.

  (2) A certificate of appealability may issue under paragraph (1) only if the applicant has
  made a substantial showing of the denial of a constitutional right.

  (3) The certificate of appealability under paragraph (1) shall indicate which specific issue
  or issues satisfy the showing required by paragraph (2).

         In Slack v. McDaniel, 529 U.S. 473, 483-4 (2000) the Supreme Court held,

         To obtain a COA under 2253(c), a habeas prisoner must make a substantial
         showing of the denial of a constitutional right, a demonstration that, under
         Barefoot, includes showing that reasonable jurists could debate whether (or, for
         that matter, agree that) the petition should have been resolved in a different
         manner or that the issues presented were “ ‘adequate to deserve encouragement
         to proceed further.’ ” (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)
         superceded by statute.

         Petitioner has failed to make a substantial showing that he was denied any

  constitutional right. Therefore, the Court will not issue a certificate of appealability.




          IT IS SO ORDERED.




   June 19, 2017                       s/Christopher A. Boyko
   Date                                CHRISTOPHER A. BOYKO
                                       United States District Judge




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